

Matter of R.C. (2024 NY Slip Op 01670)





Matter of R.C.


2024 NY Slip Op 01670


Decided on March 26, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 26, 2024

Before: Singh, J.P., Moulton, Friedman, Scarpulla, O'Neill Levy, JJ. 


Docket No. D-07363/22 Appeal No. 1921 Case No. 2022-04848 

[*1]In the Matter of R.C., a Person Alleged to be a Juvenile Delinquent,


Twyla Carter, The Legal Aid Society, New York (John A. Newbery of counsel), for appellant.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Julie Steiner of counsel), for respondent.



Order of disposition, Family Court, Bronx County (Lynn M. Leopold, J.), entered on or about August 16, 2022, which adjudicated appellant a juvenile delinquent upon his admission that he committed an act that, if committed by an adult, would constitute the crime of criminal possession of a controlled substance in the fifth degree, and placed him on probation for a period of 24 months, unanimously affirmed, without costs.
The court properly denied appellant's motion to suppress the drugs and money recovered from him after his arrest. The evidence presented at the suppression hearing supported the court's finding that the police had probable cause to arrest appellant for engaging in a drug transaction. An experienced officer who had received specialized training in street narcotics transactions testified that he observed appellant exchange a small item for what appeared to be folded-up currency in a high-crime, drug-prone area (see People v Jones , 90 NY2d 835, 837 [1997]). There is no basis to disturb the court's credibility determinations (see People v Prochilo , 41 NY2d 759, 761 [1977]), especially given that the court had reviewed video footage from the officer's body camera and found the officer's testimony to be consistent with it.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 26, 2024








